      Case 2:19-cv-08972-CBM-FFM Document 14 Filed 10/25/19 Page 1 of 5 Page ID #:306
Name and address:
                             Dwayne D. Sam
                Pierce Bainbridge Beck Price & Hecht LLP
                      600 Pennsylvania Avenue NW,
                          South Tower, Suite 700
                         Washington, DC 20004

                                              UNITED STATES DISTRICT COURT
                                             CENTRAL DISTRICT OF CALIFORNIA

                                                                               CASE NUMBER
SETH SHAPIRO
                                                           Plaintiff(s),                                 2: l 9-cv-8972

                    V.
                                                                                 APPLICATION OF NON-RESIDENT ATTORNEY
AT&T MOBI LITY, LLC                                                                    TO APPEAR IN A SPECIFIC CASE
                                                       Defendant(s),                                 PROHACVICE
INSTRUCTIONS FOR APPLICANTS
( I) The attorney seeking to appear pro hac vice must complete Section I of this Application, personally sign, in ink, the certification in
     Section II, and have the designated Local Counsel sign in Section III. ELECTRONIC SIGNATURES ARE NOT ACCEPTED. Space to
    supplement responses is provided in Section IV. The applicant must also attach a Certificate of Good Standing (issued within the last 30
    days) from every state bar to which he or she is admitted; failure to do so will be grounds for denying the Application. Scan the
    completed Application with its original ink signature, together with any attachment(s), to a single Portable Document Format (PDF) file.
(2) Have the designated Local Counsel file the Application electronically using the Court's CM/ECF System ("Motions and Related Filings
    => Applications/Ex Parte Applications/Motions/Petitions/Requests=> Appear Pro Hae Vice (G-64)"), attach a Proposed Order (using
    Form G-64 ORDER, available from the Court's website), and pay the required $400 fee online at the time offiling (using a credit card).
    The fee is required for each case in which the applicant files an Application. Failure to pay the fee at the time offiling will be grounds for
    denying the Application. Out-of-state federal government attorneys are not required to pay the $400 fee. (Certain attorneys for the
    United States are also exempt from the requirement of applying/or pro hac vice status. See L.R. 83-2.1.4.) A copy of the G-64 ORDER in
    Word or WordPerfect format must be emailed to the generic chambers email address. L.R. 5-4.4.2.
SECTION I - INFORMATION

Sam , Dwayne D.
Applicant's Name (Last Name, First Name & Middle Initial)                                            check here iffederal government attorney □
 Pierce Bainbridge Beck Price & Hecht LLP
Firm/Agency Name
600 Pennsylvania A venue                                                   (202) 843-8342                         (202) 899-5666
South Tower, Suite 700                                                     Telephone Number                       Fax Number
Street Address
Washington, D C 20004                                                                           d sam@pierceba inbridge.com
 City, State, Zip Code                                                                                 E-mail Address

I have been retained to represent the following parties:

Seth Shapiro                                                               [RI Plaintiff(s)   D Defendant(s) D Other:
                                                                                                                      - - -------
                                                                           □   Plaintiff(s)   D Defendant(s) D Other:
                                                                                                                          - - - - - -- - -
Name(s) of Party(ies) Represented

List all state and federal courts (including appellate courts) to which the applicant has been admitted, and provide the current status of his or
her membership. Use Section IV if more room is needed, or to provide additional information.

                 Name of Court                             Date of Admission            Active Member in Good Standing? (if not, please explain)
 District of Columia                                          12/7/2015                Active
Maryla nd                                                      2/7/2013                Active




G-64 ( 11/18)               APPLICATION OF NON-RESIDENT ATTORNEY TO APPEAR IN A SPECIFI C CASE PRO HAC VTCE                              Page I of3
      Case 2:19-cv-08972-CBM-FFM Document 14 Filed 10/25/19 Page 2 of 5 Page ID #:307

List all cases in which the applicant has applied to this Court for pro hac vice status in the previous three years (continue in Section IV if
needed):
        Case Number                                      Title o(Action                             Date o(Application            Granted I Denied?




If any pro hac vice applications su bmitted within the past three (3) years have been denied by the Court, please explain:




Has the applicant p reviously registered as a CM/ECF user in the Cen tral District of California?             D      Yes    IE]    No

If yes, was the applicant's CM/ECF User account associated with the e-mail address provided above?            D      Yes    IE]    No



                                                                                                  Previous E-mail Used (if applicable)

Attorneys must be registered for the Court's Case Management/Electronic Case Filing ("CM!ECF") System to be admitted to practice pro hac
vice in this Court. Submission of this Application will constitute your registration (or re-registration) as a CM/ECF User. If the Court signs an
Order granting your Application, you will either be issued a new CM/ECF login and password, or the existing account you identified above
will be associated with your case.



            SECTION II - CERTIFICATION


            I declare unde r penalty of perjury that:

            (I) All of the above information is true and correct.
            (2) I am not a resident of the State of California. I am not regularly employed in, or engaged in substantial business,
                 p rofessional, or other activities in the State of California.
            (3) I am not c urrently suspended from and have never been disbarred from practice in any court.
            (4) I am famil iar with the Court's Local Civil and Criminal Rules, the Federal Rules of Civil and Criminal Procedure,
                and the Federal Rules of Evidence.
            (5) I designate the attorney listed in Section III below, who is a member in good standing of the Bar of this Court and
                 maintains a n office in tl1e Central District of California for the p ractice oflaw, as local counsel pursuant to Local
                 Rule 83-2.1.3.4.


                Dated
                                                                                                  e type or print)

                                                                                                   ~
                                                                          Appl,




G-6-1 (11/18)                AP PUCATION OF NON-RESIDENT ATTORNEY TO APPEAR TN A SPECIFIC CASE PRO HAC VICE                                 Page 2 of3
Case 2:19-cv-08972-CBM-FFM Document 14 Filed 10/25/19 Page 3 of 5 Page ID #:308
Case 2:19-cv-08972-CBM-FFM Document 14 Filed 10/25/19 Page 4 of 5 Page ID #:309




     01ÿ345678ÿ98ÿ 0ÿÿ 0ÿ74ÿ98ÿ54ÿÿ98ÿ9736ÿ9ÿ98ÿ467
                   54ÿÿ98ÿ9736ÿ6ÿ94ÿ5443ÿ48ÿ56



          !6ÿ7ÿ"6784ÿ61ÿ64ÿ91ÿ4434ÿ#ÿ$%&'ÿ6ÿ61ÿ6914ÿ61ÿ91479ÿ4174ÿ9ÿ
           64ÿ34894ÿ5ÿ9(ÿ61ÿÿ91ÿ54ÿ64ÿ164ÿ3479!ÿ61ÿ)4ÿ434ÿ1ÿ*99ÿ
                                                611*ÿ98ÿ5ÿ6


                                                                           JKÿMNOPQRSKTÿUVNWNSXY
                                                                       JÿVZ[NÿVNWN\KPSÿO\]O^WQ]N_ÿRTÿ
                                                                       KZRNÿZK_ÿZXXQ̀N_ÿPVNÿONZaÿSXÿPVQOÿ
                                                                            bS\WPÿZPÿPVNÿbQPTÿSXÿ
                                                                        UZOVQKcPSKYÿdebeYÿSKÿf^PS]NWÿ
                                                                                  ghYÿgihje

                                                                              klmJfÿneÿbnoMJmmf
                                                                                baNWpÿSXÿPVNÿbS\WP


                                                                   233456ÿ89:ÿÿ
                                                                   ÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿ;<3=><?=ÿ@AÿB@C4DE<Fÿ8F>ÿG5DE5>3H<I

   +9ÿ"491ÿ9ÿ9141ÿ7464ÿ916ÿ54ÿÿ6ÿ,4345ÿ0884ÿ6ÿ$%$-.$.-/0#'ÿ9ÿ467ÿ
                                       4344)41369*
Case 2:19-cv-08972-CBM-FFM Document 14 Filed 10/25/19 Page 5 of 5 Page ID #:310
